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                             UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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                                     SOUTHERN DIVISION
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       PAUL SAPAN,                              CASE NO. SA CV 15-0205-DOC (JCGx)
   
                    Plaintiff(s),              ORDER DISMISSING CIVIL CASE
      v
      CASHCALL, INC.,
                   Defendant(s)
  
  
           The Court having been notified by counsel for the parties that the above-
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       entitled action has been settled;
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            IT IS THEREFORE ORDERED that this action is dismissed without prejudice
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   with the right, upon showing of good cause by July 6, 2015 to reopen this action if
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       settlement is not consummated.
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             IT IS SO ORDERED.
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                                               DAVID O. CARTER
                                               UNITED STATES DISTRICT JUDGE
       Dated: June 4, 2015
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